     Case 5:21-mc-00010 Document 1 Filed 08/02/21 Page 1 of 3 Page ID #:1



1    John Tehranian (Bar No. 211616)
     Email: jtehranian@onellp.com
2    ONE LLP
     4000 MacArthur Boulevard
3    East Tower, Suite 500
     Newport Beach, CA 92660
4    Telephone: (949) 502-2870
     Facsimile: (949) 258-5081
5
     Attorneys for Petitioner,
6    THE CREATION FACTORY, LLC
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8
9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
12   IN RE: DMCA SECTION 512(h)               Misc. Action No.
     SUBPOENA TO INSTAGRAM, LLC
13
                                              DECLARATION OF HENRY
14                                            STOTSENBERG IN SUPPORT OF
                                              REQUEST TO THE CLERK FOR
15
                                              ISSUANCE OF SUBPOENA,
16                                            PURSUANT TO 17 U.S.C. § 512(h),
                                              TO IDENTIFY ALLEGED
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                                              INFRINGER
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       DECLARATION OF HENRY STOTSENBERG IN SUPPORT OF REQUEST FOR ISSUANCE
        OF SUBPOENA TO IDENTIFY ALLEGED INFRINGER PURSUANT TO 17 U.S.C. § 512(h)
     Case 5:21-mc-00010 Document 1 Filed 08/02/21 Page 2 of 3 Page ID #:2



1                     DECLARATION OF HENRY STOTSENBERG
2          I, Henry Stotsenberg, declare and state as follows:
3          1.     I have personal knowledge of the facts contained in this Declaration
4    and, if called to testify, could and would testify competently thereto.
5          2.     I am the owner of The Creation Factory LLC (“TCF”) and TCF is the
6    owner of all rights, title and interest, including the copyrights, to and in photograph
7    of the band Beach Bums entitled “Beach Bums Windswept” (the “Photo”). A true
8    and correct copy of the original Photo is attached hereto as Exhibit 1.
9          3.     I submit this declaration in support of my request for issuance to
10   Instagram, LLC (“Instagram”) of a subpoena, pursuant to the Digital Millennium
11   Copyright Act (“DMCA”), 17 U.S.C. § 512(h) (the “DMCA Subpoena”), to identify
12   an alleged infringer or infringers whose posting engages in unauthorized
13   reproduction, public display and distribution of TCF’s Photo (the “Infringing
14   Content”) on the account residing at http://www.instagram.com/empowerment.la
15   and registered to the user named “empowerment.la” on Instagram’s website.
16         4.     Prior to or contemporaneously with the service of this subpoena, I will
17   issue a take-down notification pursuant to Section 512(c)(3)(A) of Title 17 of the
18   U.S. Code (as enacted by the “Online Copyright Infringement Liability Limitation
19   Act” as part of the DMCA) on behalf of TCF to Instagram through its DMCA
20   complaint system and to its designated DMCA agent related to the infringement of
21   the Photo on the account residing at http://www.instagram.com/empowerment.la
22   and registered to the user named “empowerment.la” on Instagram’s website in the
23   general form of and with the substance contained in Exhibit 2 to this Declaration.
24         5.     The purpose for which this DMCA Subpoena is being sought is to
25   obtain the identity of an alleged infringer or infringers and such information will be
26   used for the purpose of protecting TCF’s copyright interests under Title 17 of the
27   United States Code.
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                                                 2
       DECLARATION OF HENRY STOTSENBERG IN SUPPORT OF REQUEST FOR ISSUANCE
        OF SUBPOENA TO IDENTIFY ALLEGED INFRINGER PURSUANT TO 17 U.S.C. § 512(h)
     Case 5:21-mc-00010 Document 1 Filed 08/02/21 Page 3 of 3 Page ID #:3



1          I declare under penalty of perjury that the foregoing is true and correct.
2          Executed this __th day of August, 2021, at Murrieta, California.
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       DECLARATION OF HENRY STOTSENBERG IN SUPPORT OF REQUEST FOR ISSUANCE
        OF SUBPOENA TO IDENTIFY ALLEGED INFRINGER PURSUANT TO 17 U.S.C. § 512(h)
